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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


   In re:

   QUORUM HEALTH CORPORATION, et al.,                     Chapter 11

                                 Debtor.                  Case No. 20-10766 (BLS)


  DANIEL H. GOLDEN, AS LITIGATION
  TRUSTEE OF THE QHC LITIGATION
  TRUST, AND WILMINGTON SAVINGS
  FUND SOCIETY, FSB, SOLELY IN ITS                        Adv. Pro. No. 21-51190 (BLS)
  CAPACITY AS INDENTURE TRUSTEE,

                               Plaintiffs,

       v.

  COMMUNITY HEALTH SYSTEMS, INC.;
  CHS/COMMUNITY HEALTH SYSTEMS,
  INC.; REVENUE CYCLE SERVICE CENTER,
  LLC; CHSPSC, LLC; PROFESSIONAL
  ACCOUNT SERVICES, INC.; PHYSICIAN
  PRACTICE SUPPORT, LLC; ELIGIBILITY
  SCREENING SERVICES, LLC; W. LARRY
  CASH; RACHEL SEIFERT; ADAM                              Ref. Docket No. 61
  FEINSTEIN; AND CREDIT SUISSE
  SECURITIES (USA) LLC,

                               Defendants.


                   NOTICE OF COMPLETION OF BRIEFING
            ON MOTION TO STAY LITIGATION PENDING ARBITRATION

       PLEASE TAKE NOTICE THAT briefing is complete on Defendants Community Health

Systems, Inc., W. Larry Cash, and Rachel Seifert’s Motion to Stay Litigation Pending Arbitration

[Adv. D.I. 61] (the “Motion to Stay”) filed on March 24, 2022. The following pleadings are

relevant to the Court’s consideration of the Motion to Stay, and will be delivered to Chambers:
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1.   Complaint [Adv. D.I. 1, filed October 25, 2021];

2.   Defendants Community Health Systems, Inc., W. Larry Cash, and Rachel Seifert’s Motion
     to Stay Litigation Pending Arbitration [Adv. D.I. 61, filed March 24, 2022];

3.   Memorandum (I) in Support of Defendants Community Health Systems, Inc.,
     CHS/Community Health Systems, Inc., Revenue Cycle Service Center, LLC, CHSPSC,
     LLC, Professional Account Services, Inc., Physician Practice Support, LLC, Eligibility
     Screening Services, LLC, W. Larry Cash, Rachel Seifert, and Adam Feinstein's Opposition
     to Quorum's Motion to Intervene and (II) in Support of Defendants Community Health
     System, Inc., W. Larry Cash, and Rachel Seifert's Motion to Stay Litigation Pending
     Arbitration [Adv. D.I. 60, filed March 7, 2022];

4.   Declaration of Gary A. Orseck in Support of Memorandum (I) in Support of Defendants
     Community Health Systems, Inc., CHS/Community Health Systems, Inc., Revenue Cycle
     Service Center, LLC, CHSPSC, LLC, Professional Account Services, Inc., Physician
     Practice Support, LLC, Eligibility Screening Services, LLC, W. Larry Cash, Rachel
     Seifert, and Adam Feinstein's Opposition to Quorum's Motion to Intervene and (II) in
     Support of Defendants Community Health System, Inc., W. Larry Cash, and Rachel
     Seifert's Motion to Stay Litigation Pending Arbitration [Adv. D.I. 62, filed March 7, 2022];

5.   Memorandum of Law in Opposition to Defendants’ Motion to Stay Litigation Pending
     Arbitration [Adv. D.I. 79, filed April 18, 2022];

6.   Reply Brief in Support of Defendants Community Health Systems, Inc., W. Larry Cash,
     and Rachel Seifert’s Motion to Stay Litigation Pending Arbitration [Adv. D.I. 90, filed
     May 9, 2022]; and

7.   Joint Request for Oral Argument in Connection with Defendants Community Health
     Systems, Inc., W. Larry Cash, and Rachel Seifert’s Motion to Stay Litigation Pending
     Arbitration [Adv. D.I. No. 94, filed May 16, 2022].




                                     [Signature Page Follows]




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Date: May 24, 2022                            Respectfully submitted,


/s/ Michael S. Neiburg                        Gary A. Orseck (admitted pro hac vice)
Michael S. Neiburg (DE No. 5275)              Alison C. Barnes (admitted pro hac vice)
Christopher M. Lambe (DE No. 6846)            William J. Trunk (admitted pro hac vice)
YOUNG CONAWAY STARGATT                        Jack A. Herman (admitted pro hac vice)
   & TAYLOR LLP                               Lauren C. Andrews (admitted pro hac vice)
Rodney Square                                 Jason A. Shaffer (admitted pro hac vice)
1000 North King St.                           KRAMER LEVIN ROBBINS RUSSELL
Wilmington, DE 19801                          2000 K Street, N.W., 4th Floor
Tel.: (302) 571-6600                          Washington, D.C. 20006
Fax: (302) 571-1253                           Tel: (202) 775-4500
mneiburg@ycst.com                             Fax: (202) 775-4510
                                              gorseck@kramerlevin.com
Counsel for Defendants Community Health
                                              Counsel for Defendants Community Health
Systems, Inc., W. Larry Cash, and Rachel
                                              Systems, Inc., W. Larry Cash, and Rachel
Seifert                                       Seifert




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